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CSD 1163 [03/01/15]
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             UNITED STATES BANKRUPTCY COURT
                SOUTHERN DISTRICT OF CALIFORNIA
     325 West "F" Street, San Diego, California 92101-6991

In Re
Debra Lynn Toner
                                                                               BANKRUPTCY NO. 21-04335-LA13
                                                           Debtor.

3139 Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial L.P.,
As Trustee
                                                                               RS NO.   LM3-1
                                                           Moving Party

Debra Lynn Toner; Thomas H. Billingslea

                                                           Respondent(s)



                                    MOTION FOR RELIEF FROM AUTOMATIC STAY
                                             (UNLAWFUL DETAINER)

       Movant in the above-captioned matter moves this Court for an Order granting relief from the automatic stay on the
grounds set forth below.

1.      A Petition under Chapter          7       11             12       13 was filed on 11/09/2021         .

2.      Procedural Status:
        a.           Name of Trustee Appointed (if any): Thomas H. Billingslea

        b.            Name of Attorney of Record for Trustee (if any):
                                                             1) 12/15/1997, 2) 8/27/2014, 3) 11/06/2014, 4) 09/15/2017,
        c.            (Optional) Prior Filing Information:
                Debtor has previously filed a Bankruptcy Petition on: 5) 04/26/2019        . 6) 01/21/2020, 7) 3/11/2021
                If applicable, the prior case was dismissed on: 1) 3/28/1998               . 2) 10/15/2014, 3) 12/31/2014
                                                             4) 01/17/2018, 5) 08/07/2019, 6) 02/19/2020, 7) 04/09/2021
        d.            (If Chapter 13 case): Chapter 13 Plan was confirmed on                               or a confirmation
                hearing is set for                                 .



        Movant alleges the following in support of its Motion:

1.      Debtor occupies the premises commonly known as (specify street address):
         3139 Mt Whitney Road
         Escondido, CA 92029


2.      Debtor occupies the premises:
            on a month-to-month tenancy                                   pursuant to a lease in default
             on a hold-over tenancy                                       after a foreclosure sale
             on a tenancy at will                                         pursuant to a terminated lease

3.      Debtor has failed to pay the monthly rent of $ 4,600.00                     since September 1, 2021                .


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4.      Procedural status in State Court (fill in all applicable data for completed steps):

        a.            On 08/28/2021                         , Movant served a Notice to Pay Rent or Quit on the Debtor(s).

        b.            On 09/01/2021                         , Movant filed a Complaint for Unlawful Detainer in State Court.

        c.            Trial was held on                                       .

        d.            A Judgment was entered on said Complaint by the State Court on                                           .


When required, Movant has filed separate Declarations pursuant to Local Bankruptcy Rule 4001-2(a).

        Movant attaches the following:

1.           Copy of the State Court Unlawful Detainer Judgment.

2.           Other relevant evidence:
              1) Deed of Trust                       8) Trustee's Deed Upon Sale         15) Order on Remand
              2) Assignment of Deed of Trust 1       9) Grant Deed                      16) Notice of Stay
              3) Assignment of Deed of Trust 2       10) Memo of Lease                  17) Register of Action (UD Case)
              4) Corporate Assignment DOT            11) Richard L Stanley Prior Filings
              5) Substitution of Trustee             12) Lis Pendens
              6) Notice of Default                   13) Register of Actions (Civil Case)
              7) Notice of Trustee's Sale            14) UD Complaint

3.           (Optional) Memorandum of points and authorities upon which the moving party will rely.
              See attached




        WHEREFORE, Movant prays that this Court issue an Order granting the following:

             Relief as requested.

             Other:
              In rem relief from stay pursuant to 11 USC 362(d)(4)
              Waiver of 14 day stay pursuant to FRBP 4001(a)(3)
              Order that no stay applies pursuant to 11 USC 362(c)(4)




Dated: December 17, 2021

                                                             /s/Lawrence A. Mudgett III, Esq.
                                                            [Attorney for] Movant



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